                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA,
                                                           DOCKET NO. 3:05CR421

                  V.                                               ORDER

TROY RENALD WASHINGTON


       THIS MATTER IS BEFORE THE COURT on Defendant’s Motion for Early Termination

of Supervised Release (Doc. No. 40 ). The Local Rules of this Court require a Defendant to inform

the Court as to position of the United States Probation Office and the United States Attorney’s

Office on Defendant’s Motion. Because the Defendant has not informed the Court as to those

Offices’ positions, the Motion for Early Termination is DENIED without prejudice.

       IT IS SO ORDERED.


                                      Signed: September 28, 2021




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